                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


    BILL LIETZKE,
                               Plaintiff,
                   v.
    CITY OF MONTGOMERY, et al,                     Case No. 3:19-cv-00105-TMB


                              Defendants.


                                ORDER OF DISMISSAL

         On April 12, 2019, self-represented litigant Bill Lietzke filed a complaint with

an exhibit labeled “Plaintiff’s First Set of Interrogatories,” along with a civil cover

sheet and a Motion to Proceed In Forma Pauperis. 1 The cover sheet names the

“City of Montgomery, et al, Kevin Murphy” as defendants. 2 Additionally, the cover

sheet indicates that the complaint presents a federal question under 42 U.S.C.

§ 1983 and describes the cause of action as “LIBEL AND SLANDER, CIVIL

RIGHTS VIOLATIONS.”

         The complaint alleges that the City of Montgomery defamed Mr. Lietzke by

“interrogating the Plaintiff” after unnamed persons from the “First Baptist Church

Montgomery” called the police with a report that he was “following a woman” and

that he had entered the church premises. 3 Mr. Lietzke alleges that “unidentified,


1   Dockets 1-3.
2   Docket 2.
3   Docket 1 at 2.



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unspecified Defendants’ misconduct and City of Montgomery police misconduct”

violated his First and Fifth Amendment rights under the U.S. Constitution. Further,

he alleges “righteous indignation and personal humiliation” was the “direct and

proximate result of LIBEL AND SLANDER of the Defendants.” The complaint does

not mention or include allegations regarding Kevin Murphy. 4

         For relief, Mr. Lietzke requests “Punitive, Actual, and Compensatory

Damages, and judgment therefore, against all Defendants for the total sum of

$2,500,000,000.00.” 5

                               SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking IFP status. 6 In this screening,

a court shall dismiss the case at any time if the court determines that the action:

                (i)     is frivolous or malicious;

                (ii)    fails to state a claim on which relief may be granted; or

                (iii)   seeks monetary relief against a defendant who is immune
                        from such relief. 7



4   See Docket 1.
5   Docket 1 at 2.
6  See, e.g., Lopez v. Smith, 203 F.3d 1122, 1126 n.7 (9th Cir. 2000) (clarifying that the
relevant law, 28 U.S.C. § 1915(e) “applies to all [IFP] complaints,” and not just those
filed by prisoners).
7   28 U.S.C. § 1915(e)(2)(B).


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       To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.” 8 In conducting its

review, a court must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of the doubt. 9 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 10




8 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian
Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).
9See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773
F.2d 1026, 1027 n.1 (9th Cir. 1985) (en banc)).
10See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).


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                                      DISCUSSION

       Mr. Lietzke’s complaint alleges that he was subjected to libel, slander, and

violations of his First and Fifth Amendment rights. The complaint fails to state a

claim. The complaint fails to establish personal jurisdiction over the defendants

and is filed in the incorrect venue.          Additionally, Mr. Lietzke has filed these

allegations in several district courts, therefore making the complaint frivolous. In

this case, amendment would be futile; therefore, leave to amend will not be

permitted.

                                 Failure to State a Claim

       A complaint seeking relief from a federal court must be clear. Rule 8 of the

Federal Rules of Civil Procedure instructs that a complaint must contain a “short

and plain statement of the claim showing that the [complainant] is entitled to relief.”

A complaint should set out each claim for relief separately. Each claim should

identify (1) the specific harm that Mr. Lietzke is alleging has occurred to him, (2)

when that harm occurred, (3) where that harm was caused, (4) who he is alleging

caused that specific harm to him, and (5) what specific law he is alleging was

violated as to that specific claim.

       The complaint does not allege plausible facts that support violations of either

First or Fifth Amendment rights, nor the torts of libel or slander. Mr. Lietzke fails

to state a claim upon which relief may be granted.




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                                    Personal Jurisdiction

          The Court must have personal jurisdiction over the parties.              Personal

jurisdiction is “[a] court’s power to bring a person into its adjudicative process.” 11

Under the Rules of Civil Procedure, personal jurisdiction may be established over

a defendant who is “subject to the jurisdiction of a court of general jurisdiction in

the state where the district court is located.” 12 If the defendant is located out-of-

state, the United States Constitution requires that a defendant must have a

minimum level of contacts with the state in which the federal court is located in

order for that court to be authorized to hear the case. 13 A plaintiff must show that

an out-of-state defendant had sufficient minimum contacts with and in Alaska

necessary as not to offend the “traditional notices of fair play and substantial

justice.” 14

         The complaint articulates that the events at issue occurred in Montgomery.

The Court presumes this is Montgomery, Alabama, as there is no Montgomery,



11   Black’s Law Dictionary (10th ed. 2014).
12   Fed. R. Civ. P. Rule 4(k)(1)(A).
13   Int’l Shoe Co. v. State of Wash., 326 U.S. 310 (1945).
14
  Int’l Shoe, 326 U.S. at 316 (citation and internal quotation marks omitted). Alaska’s
long-arm statute, AS 09.05.015(c), “authorizes Alaska’s courts ‘to assert jurisdiction to
the maximum extent permitted by due process.’” Polar Supply Co., Inc. v. Steelmaster
Industries, Inc., 127 P.3d 54, 56 (Alaska 2005) (citations omitted). “As the United
States Supreme Court explained in International Shoe Co. v. Washington, due process
requires that a defendant have ‘minimum contacts’ with the forum state such that
maintaining a suit in the forum state ‘does not offend ‘traditional notions of fair play and

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Alaska and because the address provided for the First Baptist Church Montgomery

is located in Alabama. Moreover, Mr. Lietzke attempts to use Neveda state law to

justify this Court’s exercise of personal jurisdiction. Nevada state law does not

apply here. The complaint does not establish any events or contacts that would

give defendants reasonable notice of this Court’s jurisdiction. Due to this lack of

contacts, it would offend the traditional notices of fair play and justice for this Court

to assert jurisdiction. Therefore, this Court has no personal jurisdiction over the

defendants.

                                           Venue

         A civil action must also be brought in the proper venue in order for a district

court to have proper jurisdiction. 15 In general, a civil lawsuit is properly filed in “(1)

a judicial district in which any defendant resides, if all the defendants are residents

of the State in which the district is located,” (2) where “a substantial part of the

events or omissions giving rise to the claim occurred,” or (3) if there is no other

district where the suit can be brought then in a judicial district where “any defendant

is subject to the court’s personal jurisdiction.” 16




substantial justice.’” In re Fields, 219 P.3d 995, 1008 (Alaska 2009) (quoting
International Shoe, 326 U.S. at 316).
15   28 U.S.C. § 1391.
16   28 U.S.C. § 1391(b).

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         Here, none of the defendants reside in the District of Alaska, nor do the

alleged events take place in the District of Alaska. And, as discussed above, this

Court does not have personal jurisdiction over any of the defendants. Accordingly,

this action is not filed in the proper venue and must be dismissed.

                                    Frivolous Lawsuits

         In accordance with federal law, a court must dismiss a case “at any time if

the court determines that the action or appeal is frivolous or malicious.” 17 The term

frivolous, or frivolous as a matter of law, is a legal term. It means that a case or

complaint “lacks an arguable basis in either in law or in fact.” 18 When a court

evaluates whether a complaint is frivolous, it must “pierce the veil of the complaint’s

factual allegations to determine whether they are fanciful, fantastic, or

delusional.” 19    Additionally, a complaint may be frivolous if it merely repeats

pending or previously litigated claims.” 20

         Mr. Lietzke has frequently attempted to litigate his allegations against the

City of Montgomery. A search of federal dockets reveals Mr. Lietzke has filed

numerous complaints in numerous districts, including Alabama, California, Maine,




17   28 U.S.C. § 1915(e)(2)(B); see also 28 U.S.C. § 1915A(b)(1); 42 U.S.C. § 1997e(c)(1).
18   Neitzke v. Williams, 490 U.S. 319, 325 (1989).
19   Neitzke, 490 U.S. at 327-28; see also Denton v. Hernandez, 504 U.S. 25, 33 (1992).
20   Cato v. United States, 70 F.3d 1103, 1105 n.2 (9th Cir. 1995).


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Massachusetts, Michigan, Montana, Nevada, New Mexico, North Dakota, Oregon,

South Dakota, and Washington. 21           As such, Mr. Leitzke’s action is frivolous

because it merely repeats previously litigated claims. Therefore, the complaint

must be dismissed with prejudice for frivolousness.

                                  Futility of Amendment

       Mr. Lietzke’s complaint lacks personal jurisdiction and venue. Under the

facts alleged, Mr. Lietzke is unable to establish personal jurisdiction over the




21 See Lietzke v. City of Montgomery et al., 2:18-cv-00858, 2:18-cv-00395, 2:18-cv-
00027, 2:18-cv-00012 (M.D. Ala. 2018); Lietzke v. City of Montgomery et al., 2:18-cv-
00812, 2:17-cv-00712, 2:17-cv-00711, 2:17-cv-00713, 2:17-cv-00628, 2:17-cv-00626,
2:17-cv-00614, 2:17-cv-00609 (M.D. Ala. 2017); Lietzke v. City of Montgomery et al.,
2:16-cv-00950 (M.D. Ala. 2016); Lietzke v. City of Montgomery et al., 2:18-cv-02706,
2:18-cv-02393 (E.D. Cal. 2018); Lietzke v. City of Montgomery et al., 4:18-cv-06209
(N.D. Cal. 2018); Lietzke v. City of Montgomery et al., 4:16-cv-00607 (S.D. Iowa 2016);
Lietzke v. City of Montgomery et al., 2:17-cv-00327, 2:17-cv-00325, 2:17-cv-00326 (D.
Me. 2017); Lietzke v. City of Montgomery et al., 1:17-cv-11680, 1:17-cv-11677, 1:17-cv-
11650, 1:17-cv-11646, 1:17-cv-11648 (D. Mass. 2017); Lietzke v. City of Montgomery et
al., 2:18-cv-10425, 5:18-cv-10114 (E.D. Mich. 2018); Lietzke v. City of Montgomery et
al., 2:17-cv-13732, 2:17-cv-12934, 2:17-cv-12935, 2:17-cv-12918, 2:17-cv-12921, 5:17-
cv-12920 (E.D. Mich. 2017); Lietzke v. City of Montgomery et al., 9:19-cv-00064, 9:19-
cv-00063, 9:19-cv-00065 (D. Mont. 2019); Lietzke v. City of Montgomery et al., 9:17-cv-
000160, 9:17-cv-00130 (D. Mont. 2017); Lietzke v. City of Montgomery et al., 2:18-cv-
00222 (D. Nev. 2018); Lietzke v. City of Montgomery et al., 2:17-cv-03137, 2:17-cv-
02873, 3:17-cv-00074, 3:17-cv-00040 (D. Nev. 2017); Lietzke v. City of Montgomery et
al., 3:16-cv-00735, 2:16-cv-02818 (D. Nev. 2016); Lietzke v. City of Montgomery et al.,
1:16-cv-01296 (D.N.M. 2016); Lietzke v. City of Montgomery et al., 1:16-cv-00411
(D.N.D. 2016); Lietzke v. City of Montgomery et al., 3:19-cv-00563, 3:19-cv-00562,
3:19-cv-00565 (D. Or. 2019); Lietzke v. City of Montgomery et al., 5:17-cv-05003, 5:17-
cv-05004 (D.S.D. 2017); Lietzke v. City of Montgomery et al., 5:16-cv-0511 (D.S.D.
2016); Lietzke v. City of Montgomery et al., 2:17-cv-01317 (W.D. Wash 2017).




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defendants.     Additionally, Mr. Lietzke has previously litigated these claims in

several jurisdictions making them frivolous. Therefore, amendment is futile.

IT IS THEREFORE ORDERED:

1. The Complaint is DISMISSED WITH PREJUDICE for lack of personal

   jurisdiction and the futility of amendment.

2. The Application to Proceed in District Court without Prepaying Fees of Costs at

   Docket 3 is DENIED AS MOOT.

3. The Clerk of Court is directed to enter a Final Judgment in this case.


DATED at Anchorage, Alaska this 11th day of June, 2019.

                                                           /s/ Timothy M. Burgess
                                                           TIMOTHY M. BURGESS
                                                           United States District Judge




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